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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                              )
D.V.D., et al.,                               )
                                              )
Individually and on behalf of all others      )
similarly situated,                           )
                                              )
                Plaintiffs,                   )   No. 1:25-cv-10676-BEM
                                              )
        v.                                    )
                                              )
U.S. Department of Homeland Security, et al., )
                                              )
                Defendants.                   )
                                              )
                                              )

                             DEFENDANTS’ STATUS REPORT

       Consistent with the Court’s May 21, 2025 order (ECF No. 119), Defendants file this status

report as an update to the reports they provided on May 25, 2025, June 2, 2025, and June 9, 2025.

On June, 11, 2025, counsel for Defendants provided counsel for Plaintiffs with additional

information including: (1) the alien numbers of the aliens in DHS custody in Djibouti, and (2)

contact information for the aliens including an ICE point of contact who can arrange

communications with the aliens.
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Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I, Mary Larakers, Senior Litigation Counsel, hereby certify that this document filed through
the ECF system will be sent electronically to the registered participants as identified on the Notice
of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants.

                                                      /s/ Mary L. Larakers
                                                      Mary L. Larakers
Dated: June 16, 2025                                  Senior Litigation Counsel
